     Case 4:02-cr-00079 Document 298 Filed on 07/27/06 in TXSD Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

UNITED STATES OF AMERICA,                   }
             Plaintiff-Respondent           }
                                            }
v.                                          }      CRIMINAL ACTION NO. H-02-79-2
                                            }      CIVIL ACTION NO. H-04-4617
JESUS FLORES-GUERRERO,                      }
             Defendant-Petitioner           }

                               ORDER DISMISSING ACTION

      After careful and independent consideration of the record in this case, the Court

      ORDERS that Petitioner Jesus Flores-Guerrero’s Motion to Vacate, Set Aside or Correct

Sentence filed pursuant to 28 U.S.C. § 2255 is DENIED and his action is DISMISSED WITH

PREJUDICE.



      SIGNED at Houston, Texas, this 27th day of July, 2006.




                                    ______________________________________
                                             MELINDA HARMON
                                      UNITED STATES DISTRICT JUDGE
